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  EXHIBIT C
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   l                       UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF GEORGIA
   2                             ATLANTA DIVISION

   3      FAIR FIGHT ACTION,            et           )
          al.,                                       )
   4                                                 )
                Plaintiffs,                          )
   5                                                 )
          vs.                                        )      CIVIL ACTION NO.
   6                                                 )
          BRAD RAFFENSPERGER, in                     )       l:18-CV-05391-SCJ
   7      his official Capacity as                   )
          Secretary of State of                      )
   8      Georgia; et al. ,                          )
                                                     )
   9            Defendants .                         )

 10

 11        THIS DEPOSITION CONTAINS INFORMATION DESIGNATED
               CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER
 12

 13             VIDEOTAPED DEPOSITION OF LAUREN GROH-WARGO

 14                               (Taken by Defendants)

 15                                  October 30,         2019

  16                                      10:10 a.m.

  17

  18

  19

  20                                 Suite 1650
                             1180 West Peachtree Street
  21                              Atlanta, Georgia

  22

  23

  24

  25       Reported by:            Debra M.       Druzisky,       CCR-B-1848



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   1      along these lines on counteracting problems that
   2      voters encountered in 2018.                     That was the rationale
   3      for their creation.
   4             Q.      And this statement says that the past
   5      effort included voter education.                        But now, would it
   6      be correct to say you're having to educate voters
   7      about something different because of the voter
   8      suppression issues?
   9             A.      Yes.
 10               Q.     Okay.
 11              A.      It's what I described to you sort of on
 12       that mail piece example.                    Like, there's some basic
 13       amount of voter education that goes in on turn-out
 14       activities.           What we are now doing and thinking
 15       about doing next year is way beyond that.
 16               Q.     And in the next sentence of Paragraph 12,
  17      where it indicates that Fair Fight Action will
  18       "engage in election reform efforts that are focused
  19      specifically on counteracting problems voters
  20      encountered in the 2018 election," what is that
  21      referring to?
  22              A.     Let me read it again.
  23                     (Whereupon, the document was
  24              reviewed by the witness.)
  25                     THE WITNESS:            So those are some of


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   1      the things we're looking at.                    So the
   2      Democracy Warriors, Fair Fight U, are
   3      very specific discrete programs meant to
   4      counteract the wrongdoing and deal with
   5      these issues that we see in terms of the
   6      right to vote in Georgia.
   7            Other things we're looking at, like,
   8      this weekend around a sort of hybrid
   9      phone bank to voters who have elections
 10       coming up, be it way beyond what we have
 11       done in the past in terms of telling
 12       people when and where to vote, we're also
 13       having a conversation with them to make
 14       sure they're checking their registration
 15       status, know where they're to go for
  16      help.
  17            It's a whole additional part of that
  18      conversation that would not have been
  19      there before that's meant to address the
  20      issues we've seen and the injury that
  21      Georgia voters have suffered.
  22            And then sort of all these T.B.D.
  23      activities around this huge 300,000 purge
  24      that we've just learned of, like, what
  25      are we going to need to do around that


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   1              potentially next year in terms of making
   2              sure that folks' absentee ballots are
   3              properly processed in terms of all of
   4              those sorts issues we've seen and
   5              outlined in this complaint, what are the
   6              kinds of things that we can do to try to
   7              mitigate and improve the voting rights of
   8              Georgians.
   9      BY MR. TYSON:
 10               Q.     In Paragraph 13 it -- the complaint
 11       indicates that the new activities are going to
 12       require funds that it would divert from other
 13       programs,        "such as 'getting out the vote' drives
 14       and providing voters with general information on
 15       upcoming elections."
 16                      Are those the programs that you're going
  17      to divert resources from?                    Because I believe I
  18      heard you describe some progressive policy programs
  19      instead.
  20              A.     So as a baseline, if we can may -- wave a
  21      magic wand and all these issues we've seen in the
  22      state, we would be doing very typical "get out the
  23      vote" activities as an organization.
  24                     We would be looking at, you know, what
  25      phone banks do we want to do, what text banks do we


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